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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA


JAMES IRVING DALE,                                                  MOTION FOR DISCOVERY
                    Plaintiff,
         -VS.-
JOEL L. BROTT, Et. AI.,                                               CTVIL NO. 12-383 (PJS/JSM)
                 Defendants.


         COMES now the Plaintiff, James Irving Dale, Pursuant to Federal Rule of Civil
Procedure 26 and hereby requests the defendants produce the following:

l.   Copies of any and all Grievances and or Requests for Administrative Remedy filed by the
     plaintiff while he was incarcerated in the Sherburne County Jail, along with the Defendants
     response to said Grievances and Requests for Administrative Remedy's.

2.   Any and all disciplinary reports or disciplinary warnings written by any of the Defendants, or
     any other Sherburne County Correctional Officers, regarding the Plaintiff. Along with any type

     of disciplinary actions, or disciplinary procedures, taken by any of the Defendants, or other
     Correctional Officers, regarding the Plaintiff while he was incarcerated in the Sherburne
     County Jail.
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J.   Any internal reports, E-Mails, or other type of inner jail correspondence, written or electronic,
     produced by any of the Defendants which pertain to the Plaintiff. More specifically any

     correspondence regarding     Plaintiffs Pro-Se legal status, religious beliefs or religious diet.
4. The Sherbume County Jail policies on disciplinary procedure, disciplinary proceedings,

     transferring inmates from one cell block to another for disciplinary reasons, administrative
     segregation procedures and proceedings, and the policies and procedures on keeping certain

     inmates separated form other inmates.
5.   Any disciplinary reports written by any of the Defendants, or other Sherburne County
     Correctional Officers, which pertain to the incident between inmate Allen Giller and the
     Plaintiff on December 19, 2011.
6.   Any disciplinary sanctions, or disciplinary actions, taken against            Allen Giller for his
     threats against the   Plaintiffon December 19, 2011.
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7.   Any investigative reports written by any of the Defendants, Sherburne County Sheriffs
     investigators, or Sherburne County Correctional Officers, which pertain to the threats inmate
     Allen Giller made against the Plaintiffon December 19,2011.
8.   Any and all disciplinary reports, incident reports, or other documentation written by the
     Defendants, or other Sherbume County Correctional Officers, which pertain to inmate Allen
     Gi1ler.

          Within 45 days of receipt of this motion, so that the Plaintiffcan prepare for trial or any
other future motions.


          Signed and submitted this 29th day of   May,20l2.




                                  b           r"-t'U
                                        James I. Dale
                                        Pro-Se Defendant
                                        13880 Highway 10
                                        13880 Business Center Drive
                                        Elk River. MN 55330
